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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                            :
In re Search Warrant dated November 5, 2021 :                 21 Misc. 813 (AT)
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In re Search Warrant dated November 3, 2021 :                 21 Misc. 819 (AT)
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In re Search Warrant dated November 3, 2021 :                 21 Misc. 825 (AT)
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             GOVERNMENT’S MEMORANDUM OF LAW IN RESPONSE
                TO PETITIONERS’ BRIEFS DATED APRIL 1, 2022



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                                 PRELIMINARY STATEMENT

       To date, the Special Master has released to the filter team approximately 184 items deemed

responsive to judicially-authorized search warrants for the electronic devices reviewed by the

Special Master (the “Responsive Materials”).1 The filter team determined that, except for four

items that might potentially be subject to the attorney-client privilege, none of the Responsive

Materials are covered by “[t]he First Amendment and the Reporters’ privileges,” Br. 2,2 that the

Petitioners attempt to invoke.

       In their submissions, the Petitioners largely ignore the governing legal standard, instead

devoting pages and pages to discussions of legal principles that are mostly irrelevant, ultimately

inviting the Special Master to “formulat[e] and apply[] a speech-protective rule of privilege.” Br.

18. The Special Master need not “formulate” any new rule to resolve this motion and should

simply apply settled Second Circuit precedent. Under that precedent, any qualified journalists’

privilege that might otherwise apply is overcome where the material relates to nonconfidential

information that is relevant to a significant issue in the case and not reasonably obtainable from

other available sources. That standard is met here. The Responsive Materials should be released

to the investigative team.



1
  On April 12, 2022, the Special Master informed the parties that an additional 169 items had been
released to the filter team, and the filter team’s review of those materials remains ongoing.
2
  “Br.” refers to the brief filed by Project Veritas and James E. O’Keefe, III, on April 1, 2022;
“Ltr.” refers to the letter filed by Spencer Meads on April 1, 2022; “S.M. Mot.” refers to O’Keefe
and Project Veritas’ motion for the appointment of a Special Master filed on November 12, 2021
(Dkt. No. 1, 21 Misc. 813 (AT)); “S.M. Opp’n” refers to the Government’s opposition motion to
the appointment of a Special Master (Dkt. No. 29, 21 Misc. 813 (AT)); “Gov’t Ltr.” refers to the
Government’s ex parte submission to the Special Master dated December 29, 2021; “Prop. Mot.”
refers to the Petitioners’ motion for the return of property filed on March 30, 2022 (Dkt. No. 70,
21 Misc. 813 (AT)). As Meads’ letter dated April 1, 2022, largely is an incorporation of the
arguments articulated in the brief field by Project Veritas and O’Keefe, the Government’s response
focuses on that brief.
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                                  FACTUAL BACKGROUND

       On November 4, 2021, the Federal Bureau of Investigation (“FBI”) executed search

warrants at Meads’ and Cochran’s residences for certain electronic devices. On November 6,

2021, the FBI executed a similar search warrant at O’Keefe’s residence for cellphones. The search

warrants at issue were obtained by the Government as part of an ongoing grand jury investigation

(the “Investigation”) into the theft and interstate transportation of certain property stolen from an

individual (the “Victim”). The warrants were supported by detailed affidavits, and authorized by

a federal magistrate judge, who found probable cause to believe that the subject premises and the

devices therein contained evidence of federal crimes, including conspiracy to transport stolen

property across state lines and interstate transportation of stolen property.3

       On December 8, 2021, the Court appointed the Special Master to “oversee the review of

the materials” seized pursuant to the aforementioned search warrants. In re Search Warrant dated

Nov. 5, 2021, No. 21 Misc. 813 (AT), 2021 WL 5845146, at *2 (S.D.N.Y. Dec. 8, 2021).

Specifically, the Court directed the Special Master to conduct “an initial review of the extracted

materials to determine what materials are responsive to the search warrants,” with a subsequent

filter review to be conducted by the Government’s filter team. Id. The Court further provided that

the filter team—after reviewing the responsive materials to determine if any should be withheld

from the investigative team—should release the materials to Petitioners, who would then have the

opportunity to raise any objections. Id. The Court directed the Special Master to resolve any



3
  The Government provided the affidavits to the Special Master on an ex parte basis on
December 13, 2021, and submitted an ex parte letter to the Special Master, at the Special Master’s
invitation, on December 29, 2021, in which the Government provided, among other things, an
overview of the pertinent facts related to the Government’s ongoing investigation.
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disputes and then to provide the Responsive Materials that were not privileged to the investigative

team. Id. In the course of establishing this procedure, the Court rejected the Petitioners’ attempt

to challenge the search warrants. Id. at *1 (“The Court shall not consider arguments related to the

validity of the search warrants because that issue is not before the Court.”); see also In re Search

Warrant dated Nov. 5, 2021, No. 21 Misc. 813 (AT), 2022 WL 500919, at *1 (S.D.N.Y. Feb. 18,

2022) (“as the Court has already made clear, the issue of the validity of the search warrants is not

before the Court, and, therefore, there is no impending decision on the merits in this action”).

       To date, the Special Master has released to the filter team approximately 184 responsive

items. The filter team determined that, aside from four items that might implicate the attorney-

client privilege, none of the Responsive Materials are privileged. The Petitioners have asserted

blanket objections to the release of any of the Responsive Materials.

                                       APPLICABLE LAW

       The Second Circuit recognizes a “qualified evidentiary privilege for information gathered

in a journalistic investigation.”4 Chevron Corp. v. Berlinger, 629 F.3d 297, 306 (2d Cir. 2011)

(citing cases). It is the burden of the person or entity claiming privilege to show entitlement to it.

Id. at 309. Further, the protection accorded by the privilege is not absolute. Id. at 307 (citing

Branzburg v. Hayes, 408 U.S. 665, 690-91 (1972)). It may yield, for example, to law enforcement

interests in certain circumstances. See Branzburg, 408 U.S. at 690-91 (finding “no basis for

holding that the public interest in law enforcement and in ensuring effective grand jury proceedings

is insufficient to override the consequential, but uncertain, burden on news gathering that is said


4
 The Second Circuit has expressly declined to “wade into the[] constitutional waters” to determine
whether “the reporter’s privilege is derived from the First Amendment rather than a federal
common law of privileges.” United States v. Treacy, 639 F.3d 32, 43 (2d Cir. 2011); see also
Gonzales v. Nat’l Broad. Co., Inc., 194 F.3d 29, 33, 35 n.6 (2d Cir. 1999).
                                                3
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to result from insisting that reporters, like other citizens, respond to relevant questions put to them

in the course of a valid grand jury investigation or criminal trial”).

       The qualified privilege applies to information derived from both confidential and

nonconfidential sources. See Gonzales v. Nat’l Broad. Co., Inc., 194 F.3d 29, 35 (2d Cir. 1999)

(the “qualified privilege for journalists applies to nonconfidential, as well as to confidential,

information”); Treacy, 639 F.3d at 42 (“a journalist possesses a qualified privilege protecting him

or her from the compelled disclosure of even nonconfidential materials”). However, the principles

behind protecting these two types of journalistic information —and the corollary standard required

to overcome the privilege in each context—are distinct. The purpose of the qualified privilege

with regards to confidential material is to “protect the important interests of reporters and the

public in preserving the confidentiality of journalists’ sources.” In re Petroleum Prod. Antitrust

Litig., 680 F.2d 5, 7 (2d Cir. 1982); see also Baker v. F & F Inv., 470 F.2d 778, 781-83 (2d Cir.

1972) (recognizing journalist’s right to protect confidential sources). Where the privilege is

established, information from confidential sources or materials may only be obtained upon a

showing that the information is “highly material and relevant, necessary or critical to the

maintenance of the claim, and not obtainable from other available sources.” Gonzales, 194 F.3d

at 33 (quoting In re Petroleum Prods. Antitrust Litig., 680 F.2d at 7). This “demanding burden

has been imposed by the courts to reflect a paramount public interest in the maintenance of a

vigorous, aggressive and independent press capable of participating in robust, unfettered debate

over controversial matters, an interest which has always been a principal concern of the First

Amendment.” United States v. Burke, 700 F.2d 70, 77 (2d Cir. 1983).

       By contrast, the purpose of the qualified privilege with regards to nonconfidential sources


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is to, among other things, avoid “burden[ing] the press with heavy costs of subpoena compliance,”

“otherwise impair[ing] its ability to perform its duties” by deterring “potential sources . . . from

speaking to the press . . . because of the likelihood that they would be sucked into litigation,” and

the “symbolic harm of making journalists appear to be an investigative arm of the judicial system,

the government, or private parties.” Gonzales, 194 F.3d at 35. The “showing needed to overcome

the privilege is less demanding than the showing required where confidential materials are sought.”

Id. at 36. Consequently, the protected interest where confidential sources are not involved is

“narrower” and the privilege is more “easily overcome.” Id. at 36. In those circumstances, the

privilege is overcome where “the materials at issue are of likely relevance to a significant issue in

the case, and are not reasonably obtainable from other available sources.” Id. at 36.

       The qualified privilege applies similarly to compelled disclosure in civil and criminal cases.

See Burke, 700 F.2d at 77 (“We see no legally-principled reason for drawing a distinction between

civil and criminal cases when considering whether the reporter’s interest in confidentiality should

yield to the moving party’s need for probative evidence.”); Treacy, 639 F.3d at 43 (“[W]here a

reporter is not protecting a confidential source or confidential materials, the showing required to

overcome the journalist’s privilege is the same in a criminal case as it is in a civil case—namely,

the showing required by Gonzales—and that . . . is true whether the party seeking to overcome the

privilege is the prosecution or the defense.”). Indeed, the Second Circuit has recognized that it

“once set too high a bar for overcoming the privilege in criminal cases and consciously lowered

that bar” to the standard articulated in Gonzales. Id. See also Gonzales, 194 F.3d at 34 n.3.

                                          DISCUSSION

       Despite the Petitioners’ varied arguments and factual claims, only one is before the Special

Master, and thus, the Government focuses its response on that question: whether any qualified
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journalists’ privilege that may otherwise apply to the Responsive Materials has been overcome. It

has. First, Petitioners have waived any privilege that might have otherwise applied through their

selective disclosure of the facts of their “investigation.”      But even assuming the qualified

journalists’ privilege could apply, it provides no basis to withhold the Responsive Materials. As

explained below, the Responsive Materials necessarily contain nonconfidential information.

Under the Gonzales standard, any qualified privilege is overcome because the Responsive

Materials are, by the nature of their responsiveness to the search warrants, necessarily relevant to

a significant issue and are not reasonably obtainable from other available sources given that they

were obtained from the Petitioners’ electronic devices in their personal possession. See Gonzales,

194 F.3d at 36. Further, even assuming arguendo that certain of the Responsive Materials

potentially contain confidential information, the privilege would be overcome because the

Responsive Materials necessarily are highly material and relevant to the Government’s

investigation and not obtainable from other available sources, as the development of the facts turns

on the precise information and communications in the Petitioners’ possession at particular points

in time. See id. at 33. The Special Master should therefore overrule the Petitioners’ objections

and provide the Responsive Materials to the investigative team.

       A.      Petitioners Have Waived Any Applicable Privilege

       Like other privileges, the qualified journalists’ privilege may be waived. See, e.g., United

States v. Sterling, 724 F.3d 482, 509 (4th Cir. 2013) (concluding that any journalists’ privilege that

may have applied was waived by author’s disclosure of information to a third party after promising

confidentiality to his source); Inside Radio, Inc. v. Clear Channel Commc’ns, Inc., 208 F.R.D.

537, 543-44 (S.D.N.Y. 2002) (concluding that newsletter publisher waived qualified privilege in

civil defamation litigation by putting intent of station newsletter’s publisher at issue, through
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assertion in article that station’s newsletter had printed knowingly false statements); Ayala v.

Ayers, 668 F. Supp. 2d 1248, 1250–51 (S.D. Cal. 2009) (finding implied waiver of the journalists’

privilege as a result of author’s production of unpublished book manuscript to Petitioner’s counsel,

while refusing to provide the same material to Respondent’s counsel); Wheeler v. Goulart, 593

A.2d 173, 175 (D.C. 1991) (“[W]hat [a reporter] chose to say to others out-of-court she cannot

now refuse to repeat in court.”); see also Pinkard v. Johnson, 118 F.R.D. 517, 523 (M.D. Ala.

1987) (“A reporter is not free to give a sworn statement to a litigant, and later invoke the qualified

reporter privilege to keep this information from the Court.”). “The party seeking to invoke a

privilege has the burden of establishing the non-waiver of the privilege.” United States. v.

Weissman, 1996 WL 737042, at *25 (S.D.N.Y. Dec. 26, 1996).

       Further, the “[w]aiver of a privilege may be either express” or “implied in circumstances

where it is called for in the interests of fairness.” In re Sims, 534 F.3d 117, 131-32 (2d Cir. 2008).

Under the “fairness doctrine,” it follows that “a party that discloses some privileged information

cannot thereafter rely on the privilege to withhold related information necessary to gain a complete

picture of the facts.” Schiller v. City of New York, 245 F.R.D. 112, 120 (S.D.N.Y. 2007). Indeed,

a party may forfeit the journalists’ privilege by using information they seek to protect “during the

course of th[eir] litigation” since the “fairness doctrine prevents prejudice to a party and distortion

of the judicial process that may be caused by the privilege-holder’s selective disclosure during

litigation of otherwise privileged information.” Id. (citing von Bulow by Auersperg v. von Bulow,

828 F.2d 94, 101 (2d Cir.1987)). That is because a party is not entitled to “use the privilege both

as a shield and a sword.” In re Sims, 534 F.3d at 132. Thus, “a party cannot partially disclose

privileged communications or affirmatively rely on privileged communications to support its claim


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or defense and then shield the underlying communications from scrutiny by the opposing

party.” Id.

       Yet that is exactly what Petitioners have done here. In its recently filed motion for the

return of property, Petitioners provide an extensive recitation of their version of events. It

describes in detail: how “sources” first contacted Project Veritas; what the sources allegedly told

them; their interactions with the sources; the steps Project Veritas allegedly took to authenticate

the diary; their production of a “video news story” about it; their internal views regarding the

authenticity of the diary; their internal decision-making about whether to publicize it; and their

alleged reasons why they chose not to do so.         See Prop. Mot. 3-7.      Petitioners explicitly

incorporated that discussion by reference in their brief regarding privilege. See Br. 3. But these

disclosures tell only part of the story, as a review of the affidavits submitted in support of the

warrants makes clear.

       The strategic purpose of these partial disclosures is evident: Petitioners seek to persuade

the Court, the Special Master, and apparently the public5 that because they were following

“common journalistic practices,” their actions were subject to a First Amendment “safe-harbor,”

and therefore the Court and Special Master should sustain their privilege claims. Br. 5. Put

differently, Petitioners seek to use their partial disclosures as a sword, while shielding the

remainder of their communications and documents from disclosure. The Petitioners, with the

assistance of counsel, affirmatively injected what they claim to be privileged materials “during the

course of this litigation.” Schiller, 245 F.R.D. at 120. They cannot now seek to “distort[] the


5
  See, e.g., Project Veritas, FBI and Southern District of New York Raid Project Veritas
Journalists’ Homes, YouTube (Nov. 5, 2021), https://youtu.be/nNpbvsS7K0g (O’Keefe video
statement regarding nature of purported investigation).
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judicial process” by “selective disclosure during litigation of otherwise privileged information.”

Id. As such, the Petitioners have waived any privilege they might enjoy over the Responsive

Materials. See In re Sims, 534 F.3d at 133-34; Pinkard, 118 F.R.D. at 523.

       B.      The Responsive Materials Contain Nonconfidential Information And Are Not
               Protected By the Qualified Journalists’ Privilege

       The Responsive Materials—totaling 184 items deemed responsive to judicially authorized

search warrants of the Petitioners’ devices—are not protected by the qualified journalists’ privilege

and should be produced by the Special Master to the investigative team.

       Assuming the qualified privilege might attach to the Responsive Materials, the privilege is

just that: qualified. And the proper test to overcome the qualified privilege is the one prescribed

in Gonzales for non-confidential information.6 That is because the Responsive Materials do not

contain confidential information collected during a journalistic investigation. Indeed, as discussed

above, the Petitioners themselves have made the details of their “investigation” public. Even if

this does not result in waiver, at minimum, the Petitioners’ disclosure of the details of their

“investigation” substantially weakens any potential protection the qualified privilege might

otherwise provide and supplies ample basis to conclude that the Responsive Materials do not

contain confidential information.

       In addition, the seized materials are all electronic devices that were in the possession of

Petitioners and do not include any of the Victim’s stolen property that Petitioners may deem


6
  The Government is unaware of any case in which the Gonzales standard has been applied to
materials obtained by search warrant, for which a showing of probable cause has been made, rather
than other evidence sought after charges have been brought in a prosecution. Nevertheless, for the
purposes of the discussion of the legal principles applicable to the Special Master’s review, the
Government assumes arguendo that the test would apply to such materials and the Petitioners have
offered no alternative standard.
                                                 9
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confidential. Indeed, Petitioners chose not to publish the results of their purported investigation

and actually provided the Victim’s stolen property, through deceptive means, to law enforcement,

all of which further undermines any need to protect any allegedly confidential information.

Further, to the extent the two individuals who sold the Victim’s stolen property to the Petitioners

can be considered “sources” for purposes of the Gonzales standard, these individuals have already

identified themselves as the sources in question, and their identities have been confirmed through

public references made by Petitioners. See, e.g., S.M. Mot. 3-4; Gov’t Ltr. 2-9. The Responsive

Materials—which, by their nature as responsive to the search warrants, pertain directly to the

potentially criminal conduct on the part of the Petitioners and their associates—are therefore

nonconfidential, as the details of the Petitioners’ purported investigation are already publicly

known, the Petitioners’ “sources” have already been revealed to the Government, and the search

warrants themselves do not otherwise seek to uncover confidential information.

       Since the Responsive Materials contain only nonconfidential information, the qualified

privilege can be “easily overcome” with a mere showing that “the materials at issue are of likely

relevance to a significant issue in the case, and are not reasonably obtainable from other available

sources.” Gonzales, 194 F.3d at 36. Here, that standard is easily satisfied.

       First, the Responsive Materials are necessarily relevant to a significant issue, namely, the

facts that are the subject of the Government’s ongoing grand jury investigation of the criminal

offenses listed in the search warrants. Indeed, by authorizing the search warrants, a federal

magistrate judge has already determined that probable cause exists that the offenses under

investigation were committed and that the seized devices contain evidence of that criminal

conduct. Further, the Special Master has determined that the Responsive Materials fall within the


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narrow scope of the search warrants and are therefore relevant to facts at issue in the criminal

conduct under investigation. That showing more than satisfies the first prong of the Gonzales test.

See Gonzales, 194 F.3d at 36 (concluding that qualified privilege was overcome in civil rights

action where materials sought, including “certain unedited, unbroadcast videotapes . . . as well as

deposition testimony from NBC representatives” were relevant to a significant issue in the case

because they “may assist the trier of fact in assessing whether [the defendant] had probable cause

to stop the NBC vehicle and might help determine whether he engaged in a pattern or practice of

stopping vehicles without probable cause, as the Plaintiffs allege”); see also N.Y. Times Co. v.

Gonzales, 459 F.3d 160, 170-72 (2d Cir. 2006) (concluding that qualified privilege was overcome

where the Government subpoenaed reporters for testimony and records in a grand jury

investigation focused on, among other things, the reporters’ “unauthorized disclosures of imminent

plans of federal law enforcement to seize assets and/or execute searches of two organizations under

investigation for funding terrorists” because the evidence from the reporters was “critical to this

inquiry” in that the journalists “as the recipients of the disclosures . . . are the only witnesses—

other than the source(s)—available to identify the conversations in question and to describe the

circumstances of the leaks”; and “the reporters were not passive collectors of information,” but,

rather, “[t]he communications to the two foundations were made by the reporters themselves and

may have altered the results of the asset freezes and searches,” such that “the reporters’ actions are

central to (and probably caused) the grand jury’s investigation”); Treacy, 639 F.3d at 43

(concluding that the Government was entitled to subpoena reporter’s testimony at trial, despite

assertion of qualified privilege, where the materials included exculpatory statements that could

provide circumstantial evidence of guilt); United States v. Cutler, 6 F.3d 67, 73 (2d Cir.1993)


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(concluding criminal defendant could overcome qualified privilege where the information sought

was “probably the only significant proof regarding his assertedly criminal behavior” and therefore

relevant to “defend[ing] against the charge that his statements were criminally contemptuous”).

       Second, the Responsive Materials are not reasonably attainable from other sources.

Although the investigative team is unaware of the content of the Responsive Materials, the

information contained therein necessarily required the recovery of the Petitioners’ electronic

devices. That is because the nature of the Petitioners’ communications with each other and other

potential coconspirators regarding the criminal offenses indicates that the Responsive Materials

are likely solely obtainable from the Petitioners’ personal devices.7 For example, there is evidence

that the Petitioners used encrypted applications to communicate with one another about the

commission of the offenses under investigation, in an apparent effort to avoid law enforcement

scrutiny. See, e.g., S.M. Opp’n 12; Gov’t Ltr. 6. Moreover, even if the Responsive Materials were

available from an alternative source, their existence on the Petitioners’ devices—including related

metadata, reflecting timing and location—is itself substantial evidence that is directly pertinent to

the Investigation, may bear on the Petitioner’s involvement in the criminal conduct, and is, by its

unique nature, unobtainable from other sources.

       In sum, the qualified journalists’ privilege, to the extent it potentially applies to the

Responsive Materials, is plainly overcome because the Responsive Materials constitute evidence

of the facts that are the subject of the Government’s ongoing grand jury investigation and are not

reasonably obtainable from alternative sources.


7
  To the extent Petitioners are suggesting that the materials should have been obtained by subpoena,
it bears noting that Project Veritas has interposed the same overbroad privilege claims in response
to a subpoena served on the entity.
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       C.      Even if the Responsive Materials Contain Confidential Information, They
               Are Still Not Protected By the Qualified Journalists’ Privilege

       Further, even if the Special Master were to construe any of the Responsive Materials as

relating to confidential information, they would still not be protected by the qualified journalists’

privilege.8 The fact that the Special Master has designated the Responsive Materials as responsive

to the search warrants establishes that they are evidence of the facts at issue in the Government’s

ongoing criminal investigation, and therefore are highly material and relevant to the development

of those facts. Further, for the reasons set forth above, the Responsive Materials—including the

very fact that the Responsive Materials were saved on the devices and the metadata associated

with those materials—is not available from other sources apart from the devices themselves.

       Finally, the third prong of the Gonzales test for confidential information—whether the

Responsive Materials are “necessary or critical to the maintenance of [a] claim”—seems on its

face to be inapplicable to the instant circumstances. That is because the evidence at issue was

obtained through the execution of a search warrant, after a showing of probable cause, and the

Government has yet to initiate a prosecution. There is therefore no pending civil claim or criminal

charge. Indeed, the Gonzales test appears to have been exclusively applied in the post-indictment

context, rather than during the pendency of a criminal investigation where a “claim” is necessarily


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  The Petitioners appear to argue that the Gonzales test for confidential material, as opposed to
nonconfidential material, is applicable. See Br. 10, 20. However, the Petitioners provide no basis
for their claim, aside from broadly implying that the Responsive Materials contain “highly
confidential private communications and source material gained during the course of protected
newsgathering.” Id. at 20. Such an unparticularized articulation of the purported confidential
information contained in the Responsive Materials cannot properly form the basis for an assertion
of the qualified privilege for confidential information. Further, to the extent that the Petitioners
argue that “communications with donors” constitute confidential information, see id. at 9 n.2, 21,
they concede that none of the Responsive Materials contain donor information, id. at 21 n.8, and
therefore the Special Master need not decide that issue at this time.
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absent. Thus, at the pre-charge stage of the Government’s investigation, the Government’s

satisfaction of the first two prongs of the Gonzales test is sufficient to overcome the privilege.

Moreover, should the Special Master construe the third prong of the Gonzales standard as applying

equally to a Government investigation, as to a charged criminal offense, the Responsive Materials

are “necessary” and “critical” to the Government’s investigation, as the communications between

co-conspirators that are uniquely stored on their phones are likely to be the clearest evidence of

their knowledge and intent.      Thus, even if the Responsive Materials contain confidential

information, the qualified privilege would not attach.

       D.      Bartnicki Does Not Provide For An Evidentiary Privilege

       Petitioners also appear to argue that the Responsive Materials are privileged because the

criminal offenses articulated in the search warrants do not subject them to criminal liability under

the Supreme Court’s holding in Bartnicki. See Br. 2, 6, 19-21; Ltr. 2. Not so. As an initial matter,

as discussed below, the Petitioners repeated unsworn claim that they “played no part” in the “illegal

acquisition” of the Victim’s property, see Br. 5, is false and, in any event, insufficient to immunize

them from investigation before the totality of the evidence is known to the Government.

       Moreover, the holding of Bartnicki is entirely immaterial to the question of whether the

qualified journalists’ privilege attaches to the Responsive Materials.        Rather, to the degree

Bartnicki’s principles are relevant in the privilege context, they are already embodied in the

established Gonzales standard. Further, even if Bartnicki were applicable, the Petitioners would

not be entitled to its protection due to the evidence of their direct involvement in the criminal

conduct under investigation.

       The holding of Bartnicki speaks solely to potential civil liability, rather than whether

materials in their possession might be subject to a qualified privilege. In Bartnicki, the Court held
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that members of the media could not be held civilly liable for disclosing illegally intercepted

communications where those making the disclosures did not participate in the interception, but did

know—or at least had reason to know—that the interception was unlawful. The Court based its

holding on the need to weigh “privacy concerns” against “the interest in publishing matters of

public importance.” Bartnicki v. Vopper, 532 U.S. 514, 534 (2001). The holding of Bartnicki thus

dictates whether those involved with the dissemination of illegally obtained materials can be held

liable. However, it does not provide any guidance with regard to whether privileges apply where

the Government seizes materials during the pendency of an ongoing grand jury investigation to

ascertain the factual basis for potential criminal charges. If Bartnicki has any applicability, it

would be in assessing ultimate liability, not in cutting off a federal criminal investigation.

       Further, to the degree that Bartnicki’s principles are applicable, they are embodied in the

firmly rooted standard for the qualified journalists’ privilege articulated in Gonzales and its

progeny. The Gonzales standard encapsulates similar First Amendment concerns as Bartnicki,

including the “the public policy interest in safeguarding the confidentiality of those who convey

information to the press,” “the pivotal function of reporters to collect information for public

dissemination,” and the “symbolic harm of making journalists appear to be an investigative arm

of the judicial system, the government, or private parties.” Gonzales, 194 F.3d at 35; see also

Bartnicki, 532 U.S. at 534-35. Thus, the Gonzales holding reflects the same underlying principles

and establishes the standard for those protections in the privilege context.

       The Petitioners nevertheless argue that giving “practical effect” to Bartnicki requires that

the privilege attach to everything except evidence “demonstrating that the Project Veritas reporters

themselves ‘played a part’ or ‘participated in the theft’ of some underlying property.” Br. 20. That


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is plainly inconsistent with the Gonzales standard and basic principles of relevance. To be of

“likely relevance to a significant issue in the case,” Gonzales, 194 F.3d at 36, each piece of

evidence need not prove guilt beyond a reasonable doubt. Rather, each piece of evidence may be

a brick in the evidentiary wall, which will join with numerous other pieces of evidence gathered

in the course of the Government’s investigation to form a broader whole that establishes guilt for

potential criminal charges. And under Gonzales, once the qualified privilege has been overcome,

there is no basis for further protecting otherwise responsive content based on a party’s subjective

evaluations of the relative strength of a particular piece of evidence.

       Finally, even if the holding in Bartnicki could be read to create additional First Amendment

protections in the privilege context (which it cannot), the Petitioners would not be entitled to such

protection because there is probable cause to believe that they were actively involved in the

unlawful conduct under investigation. The Supreme Court’s First Amendment jurisprudence

draws a clear and critical distinction “between stealing documents and disclosing documents that

someone else had stolen previously.” Democratic Nat’l Comm. v. Russian Fed’n, 392 F. Supp. 3d

410, 431 (S.D.N.Y. 2019); see generally id. at 430-31 (canvassing relevant case law). In Bartnicki,

for example, a radio commentator published a recording that he had legally obtained but which he

knew or had reason to know had been illegally intercepted by a third party. 532 U.S. at 517-18.

The defendants in that civil case were protected by the First Amendment, but that protection rested

on three factual assumptions: (1) they “played no part in the illegal interception” and learned about

it only after it had occurred; (2) “their access to the information on the tapes was obtained lawfully,

even though the information itself was intercepted unlawfully by someone else”; and (3) “the

subject matter of the [recorded] conversation was a matter of public concern.” Id. at 525. These


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first two factual predicates reflect long-standing Supreme Court precedent drawing a distinction

between active involvement in criminal conduct and passive receipt of stolen property or

information. See, e.g., N.Y. Times Co. v. United States, 403 U.S. 713, 714 (1971) (upholding

press’s right to publish information of public concern obtained from documents stolen by a third

party); Smith v. Daily Mail Publ’g Co., 443 U.S. 97, 99, 103 (1979) (state officials may not

constitutionally punish publication of “lawfully obtained” truthful information absent need to

further state interest of the highest order). Put simply, even members of the news media “may not

with impunity break and enter an office or dwelling to gather news.” Cohen v. Cowles Media Co.,

501 U.S. 663, 669 (1991).

        As the Government has previously explained, the Petitioners fall on the wrong side of that

distinction. See S.M. Opp’n 1, 3-4, 7; Gov’t Ltr. 4-9. This case does not involve mere passive

receipt, let alone passive receipt and subsequent publication by a journalist of information on a

matter of public concern. Rather, based on the evidence gathered to date, including evidence

described in detail in the affidavits submitted in support of the search warrants at issue, there is

substantial evidence demonstrating probable cause to believe that Project Veritas, O’Keefe,

Meads, and Cochran were actively involved in the unlawful conduct under investigation—the

interstate transportation of stolen property, as well as the theft of certain of the property itself. The

Petitioners’ unsworn protestations to the contrary are unpersuasive in light of that evidence. And

the Petitioners’ citations to cases involving mere “solicitation” of stolen property, see Br. 5, are

inapposite based on the evidence developed to date, including that set forth in the Government’s




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ex parte submission to the Special Master.9 See Gov’t Ltr. 4-6. Therefore, although the Special

Master need not reach this issue to determine the applicability of the qualified journalists’

privilege, the Petitioners are not entitled to First Amendment protection with regard to the conduct

at issue. See, e.g., Democratic Nat’l Comm., 392 F. Supp. 3d at 431; Cockrum v. Donald J. Trump

for President, Inc., 365 F. Supp. 3d 652, 657 (E.D. Va. 2019) (rejecting First Amendment

argument to dismiss civil complaint by respondent where respondent was alleged to have conspired

with the parties who illegally obtained the information at issue); In re Zyprexa Injunction, 474 F.

Supp. 2d 385, 396 (E.D.N.Y. 2007) (discussing Pentagon Papers case and concluding that, in

contrast, the reporter in question was “deeply involved in the effort to illegally obtain” documents).

As such, even assuming Bartnicki has some import in this context aside from its embodiment in

the qualified privilege, no related privilege attaches to materials that were in the Petitioners’

possession that have been deemed responsive to the search warrants and therefore constitute

evidence of their involvement in criminal conduct.

       E.      The First and Fourth Amendment Do Not Provide An Independent Basis for
               Privilege Over the Responsive Materials

       Rather than engage with established precedent for the qualified journalists’ privilege under

Gonzales, the Petitioners attempt to manufacture a novel privilege based on a combination of the

First and Fourth Amendments that would conveniently support their overbroad claim that all of


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  To be clear, the Special Master need not resolve this apparent dispute in order to rule on the
Petitioners’ objections. In the context of evaluating the applicability of potential privileges, and
exceptions thereto, the Government’s demonstration of probable cause is sufficient. Cf. United
States v. Spinosa, No. 21 Cr. 206 (PAE), 2021 WL 2644936, at *5 (S.D.N.Y. June 28, 2021) (“To
invoke the crime-fraud exception, a party must demonstrate that there is a factual basis for a
showing of probable cause to believe that a fraud or crime has been committed—or has been
attempted—and that the communications in question were in furtherance of the fraud or crime.”
(emphasis added)).
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the Responsive Materials are privileged. Their argument is meritless.

       The Petitioners contend that although the Gonzales standard applies, the Special Master

should heighten the “strength of the privilege” based on a collection of other First Amendment

principles—each of which is already embodied in the Gonzales standard—such as the freedom of

the press, or is irrelevant in the circumstances presented, such as associational privacy. Br. 11,

14-15. Similarly, the Petitioners argue that Fourth Amendment principles somehow also bear on

their newly-invented privilege, though they ignore the fact that the searches and seizures here are

presumptively reasonable under the Fourth Amendment because they are being conducted

pursuant to judicially-authorized search warrants. In any event, on the basis of this novel

“privilege,” the Petitioners argue that the Responsive Materials should be subject to a blanket

privilege because, among other things, the search warrants were “fatally overbroad,” the

Government acted in “bad-faith,” and the warrants bear “indications of viewpoint discrimination.”

Br. 11, 17-18; see also Ltr. 3.

       The Petitioners’ arguments—which are unfounded in fact and law—are entirely irrelevant

to the Special Master’s analysis of the qualified privilege that may attach to the Responsive

Materials. As Petitioners acknowledge, “[t]he different First Amendment interests involved in

newsgathering and reporting often coalesce in the form of a First Amendment or common-law

reporters’ privilege.” Br. 9. And as the Petitioners concede, the Gonzales standard provides the

applicable test within the Second Circuit for assessing the qualified journalists’ privilege. See Br.

10. The various First Amendment principles articulated by the Petitioners “coalesce” in—and are

not separate and apart from—the established Gonzales standard. The Petitioners’ attempt to create

a new, additional First Amendment privilege to layer on top of the Gonzales test for evaluating the


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qualified privilege should be rejected.

       Further, to the extent Petitioners challenge the veracity of the search warrants under the

Fourth Amendment, their claims are premature, improperly raised in this forum, and irrelevant to

whether the Responsive Materials are privileged. The District Court has now twice expressly ruled

that it “shall not consider arguments related to the validity of the search warrants because that issue

is not before the Court.” In re Search Warrant dated Nov. 5, 2021, 2021 WL 5845146, at *1; see

also In re Search Warrant dated Nov. 5, 2021, 2022 WL 500919, at *1. Rather, the Special

Master’s mandate is to conduct a responsiveness review of the devices and resolve any privilege

disputes. In re Search Warrant dated Nov. 5, 2021, 2021 WL 5845146, at *2–3. The Petitioners

cannot prematurely raise potential Fourth Amendment challenges to the search warrants at this

pre-indictment stage of an ongoing grand jury investigation. See In re Search Warrants Executed

on Apr. 28, 2021, 2021 WL 2188150, at *2 (“any pre-indictment suppression motion would be

premature at this juncture”); Doane v. United States, No. 08 Mag. 17 (HBP), 2009 WL 1619642,

at *9 (S.D.N.Y. June 5, 2009) (petitioner’s motion to suppress was not “ripe for adjudication”

because “[n]o criminal charges have been brought”). In any event, even if the Petitioners could

somehow challenge the search warrants at this stage of the investigation, the Special Master has

not been tasked with adjudicating such arguments.10



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  The Petitioners also argue that privilege should attach to the Responsive Materials because the
“DOJ’s failure to comply with its statutory limits or internal guidelines necessarily makes a search
unreasonable.” Br. 16 n.6, 23; see also Ltr. 3. As explained above, the sole issue before the
Special Master is whether the Responsive Materials are subject to the qualified privilege, and the




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       In sum, the Petitioners’ novel theory—and their premature, misguided challenges to the

search warrants and the Investigation more broadly—form no basis for the application of any

privilege. Put simply, the validity of the Government’s search warrants, the investigative steps

taken during its Investigation, the strength of the evidence gathered to date, and whether the

Petitioners will ultimately be charged in connection with the Investigation, is not before the Special

Master. Accordingly, the Special Master should decline the Petitioners’ invitation to engage with

what amounts to a pre-indictment suppression motion or allow a narrow privilege determination

to be transformed into a wide-ranging referendum on the Government’s investigation.

                                          CONCLUSION

       For the reasons set forth above, the Petitioners’ objections should be overruled.


Dated: New York, New York
       April 13, 2022

                                               Respectfully submitted,

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Petitioners should not be permitted to inject their premature suppression arguments into that
analysis. In any event, the Second Circuit has found no reason merely “because the Department
of Justice has adopted strict guidelines for itself with respect to subpoenaing reporters, see 28
C.F.R. § 50.10, [to] adopt the same principles as binding propositions of law” with respect to the
qualified privilege. Treacy, 639 F.3d at 43. That is because the “Justice Department’s internal
regulations governing the issuance of subpoenas to journalists, . . . exist wholly apart from any
privilege established in the case law.” Id. at 43 n.3.
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